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United States District Court East Hampton, New York 11937
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Re: Tanza, ef al, v. Garda Security, Inc. ef al.
15-cv-4394 (JIMA) (AYS)

Dear Judge Azrack:

This correspondence is respectfully submitted, with the consent of defendants’ counsel, to request
a seven (7) day extension of the parties’ deadline to submit additional documents in support of
their motion for preliminary approval of the settlement in this matter.

On August 10, 2023, the Court ordered the parties to jointly file revised versions of the Notice of
Settlement, Consent to Join, and Release form, as well as to jointly file a proposed order granting
preliminary approval to the settlement. The parties are currently working on these documents and
seek an extension through August 24, 2023, in which to comply with the Court’s Order. This
additional time is not requested for the purpose of undue delay, but rather to allow the parties’ time
to revise and review these documents with the parties and to secure a new settlement administrator.
This is the first request for an extension of this deadline.

Your Honor’s consideration is appreciated.
Respectfully submitted,
/s/ Kyle T. Pulis

cc: Jessica Travers, Esq. (via ECF)
